Case 2:19-cr-00877-CCC Document 238-1 Filed 04/07/22 Page 1 of 9 PageID: 3872
Case 2:19-cr-00877-CCC Document 238-1 Filed 04/07/22 Page 2 of 9 PageID: 3873
Case 2:19-cr-00877-CCC Document 238-1 Filed 04/07/22 Page 3 of 9 PageID: 3874
Case 2:19-cr-00877-CCC Document 238-1 Filed 04/07/22 Page 4 of 9 PageID: 3875
Case 2:19-cr-00877-CCC Document 238-1 Filed 04/07/22 Page 5 of 9 PageID: 3876
Case 2:19-cr-00877-CCC Document 238-1 Filed 04/07/22 Page 6 of 9 PageID: 3877
Case 2:19-cr-00877-CCC Document 238-1 Filed 04/07/22 Page 7 of 9 PageID: 3878




                                                          4-7-22
Case 2:19-cr-00877-CCC Document 238-1 Filed 04/07/22 Page 8 of 9 PageID: 3879




                                                         4/5/22




                                                       4/5/22
Case 2:19-cr-00877-CCC Document 238-1 Filed 04/07/22 Page 9 of 9 PageID: 3880
